        Case 3:12-cr-00404-AJB                       Document 341                Filed 04/15/14              PageID.1405                Page 1 of 4

     ~o 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
               Sheet I
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                                              UNITED STATES DISTRICT COURT                                                            r
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                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE                                             ~
                                        v.                                         (For Offenses Committed On or After November I, 1987) ~                     .,

                             RAMIN LOTFI (08)                                      Case Number: 12CR0404-AJB·08
                                                                                   Robert E. Boyce
                                                                                   Defendant's Attorney
     REGISTRATION NO. 31264298

    o
    THE DEFENDANT:
    181 pleaded gUilty to count(s) _O_n_e_o_f_th_e_In_d_ic_tm_e_nt_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature ofOtTense                                                                               Number(s)
18:1349; 18:981(a)(1)(C)               Conspiracy to Commit Mail Fraud and Wire Fraud                                                             1
and 982(a)(I)




        The defendant is sentenced as provided in pages 2 through      4    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 181 Count(s) Remaining Counts                                                       is   0    arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00


 181 Fine waived                                    o Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                            12CR0404-AJB-08
    Case 3:12-cr-00404-AJB                    Document 341               Filed 04/15/14            PageID.1406                  Page 2 of 4

AO 245B (CAS D) (Rev. 12/11) Judgmentin a Criminal Case
           Sheet 2 -- Probation
                                                                                                         JU'a'giiientPage   -   2- Of   _....:!;4_ __
DEFENDANT: RAMIN LOTFI (08)                                                                        a
CASE NUMBER: 12CR0404-AJB-08
                                                                PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within] 5 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
Ig] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
Ig] The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D The  defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
  by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



                                                                                                                                  12CR0404-AJB-08
           Case 3:12-cr-00404-AJB                      Document 341           Filed 04/15/14           PageID.1407              Page 3 of 4

         AO 245B (CASD) (Rev, 12!J I Judgment in a Criminal Case
                      Sheet 3 - Special Conditions
                                                                                                             Judgment-Page   --.J..... of _-.,;;4:...-._ _
         DEFENDANT: RAMIN LOTFI (08)                                                                    a
         CASE NUMBER: 12CR0404-AJB-08




                                                 SPECIAL CONDITIONS OF SUPERVISION
o     Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission of the Court or probation officer.
18I   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
      obtained under any other name, entity, including a trust, partnership or corporation, until fine or restitution is paid in full.




o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within                days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Not engage in the employment or profession of real estate, real estate financing, or any business loan programs, or any profession involving
      fiduciary responsibilities without the express approval ofthe probation officer.


181 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
      a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant
      to this condition.

      Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly,
      including any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until fine or restitution is
      paid in full.




                                                                                                                                         12CR0404-AJB-08
   Case 3:12-cr-00404-AJB                      Document 341    Filed 04/15/14        PageID.1408            Page 4 of 4




    AO 245B     (Rev. 2010) Judgment in a Criminal Case
                Sheet 3 Continued 2       Supervised Release
                                                                                   Judgment-Page       4       of __4_ _
    DEFENDANT: RAMIN LOTFI (08)
    CASE NUMBER: 12CR0404-AJB..oS

                                       SPECIAL CONDITIONS OF SUPERVISION

[Z] probation
    Be monitored for a period of (4) months, with the location monitoring technology at the discretion of the
              officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
      participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
      other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
      below:


     D You are restricted to your residence every day from                          to                     . (Curfew)


      D You are restricted to your residence every day from
        probation officer. (Curfew)
                                                                                    to                      as directed by the



      ~ medical,
        You are restricted to your residence at all times except for employment; education; religious services;
                 substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
              obligations; or other activities as pre-approved by the probation officer. (Home Detention)

      D other
        You are restricted to your residence at all times except for medication necessities and court appearances or
              activities specifically approved by the court. (Home Incarceration)


~ probation
  Be monitored while under supervision with location monitoring technology at the discretion of the
            officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
       condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
       their ability to pay as directed by the court and/or probation officer.
